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                               Exhibit A
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                                       Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                       Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Abitbol, Michael
Date of Deposition: May 3, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
    9       6      9    18
    9      21    10     19
   11       2    12       9
   13       9    13     19
   13      24    14     12
   34      18    35       6
   42      23    44     17
   51      20    52       2
   52       5    52     10
   62      25    63       4
   63       7    63     12
   68      16    68     20
   68      23    69       4
   70      18    70     24
   71       3    71     10
   85      19    85     23
   86      14    87     11
   87      13    87     16
   88      17    88     22
   88      25    89       7
  100       6 100         8
  100      12 101         2
  101      12 101       14
  101      19 101       21
  102       9 103         4

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                                       Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                       Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Abitbol, Michael
Date of Deposition: May 3, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  108      23 109         2
  109       4 109         7
  109      10 109       13
  109      16 110         2
  110       4 110       10
  110      12 110       12
  111      12 111       20
  111      22 112         7
  112       9 112       12
  117       6 117       11
  117      13 117       19
  119      24 120         4
  120       6 120       23
  120      25 121         9
  121      11 121       23
  121      25 122       17
  122      19 123         7
  123       9 123       20
  123      24 124         3
  124       5 124       21
  124      24 125       12
  129      25 130         6
  130       9 130       11
  130      12 130       19
  130      22 131         4

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                                       Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                       Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Abitbol, Michael
Date of Deposition: May 3, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  132       2 132       10
  132      12 132       20
  133      16 133       19
  133      21 133       22
  133      23 134         3
  134       6 135         1
  135       4 135       14
  140       4 140       17
  140      18 140       21
  140      23 141         3
  141       7 141       20
  141      23 142         4
  142      12 142       17
  142      19 142       20
  144       2 144         7
  144       9 144       14
  144      16 144       17
  148      20 149         2
  149       4 149         6
  153      16 153       23
  153      24 154         2
  154       4 154       12
  154      14 154       15




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                                        Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                        Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Bahun, Sam
Date of Deposition: June 13, 2019

              Initial Designations                         Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes          Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                 Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                     lines)                                      lines)
   22      10    23     11
                             Partial
   47       3    47     11 line
   79      21    81       1
   81      12    81     23
   83       7    83     17
   83      25    84     17
   86      15    87       6
                             Partial
   95      15    96       2 line
   98      17    98     23
   99       9    99     23
  104      24 105         5
  105      17 105       19
  109       8 109       16
  111      23 112         2
  112      13 112       23
  117      22 118       15
  122      25 123         8
  125      19 126         1
  135       2 135       24
  137       6 137       20
  138      13 138       16
  139       3 139       10
  140      14 142       19

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                                        Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                        Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Bahun, Sam
Date of Deposition: June 13, 2019

              Initial Designations                         Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes          Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                 Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                     lines)                                      lines)
  145      10 148       13
                             Partial
  148      20 149         7 line
  149      12 150         3
  150      23 151       25
  153      14 154       12
  157       7 158         2
  161      23 162         3
  163      24 164       10
  164      20 166       10
  168      12 168       23
  169      20 170         1
  172       6 172       11
  179       5 179       23
  180      22 181       20
  184       5 186         3
  187      18 188         4
  189       3 189       11
  190      10 190       23
  191      12 191       19
  193       4 193         9
  197       3 197       10
  198       2 198         6
  206       9 206       17
  219       4 219         8

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                                        Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                        Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Bahun, Sam
Date of Deposition: June 13, 2019

              Initial Designations                         Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes          Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                 Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                     lines)                                      lines)
  229      23 230       22
  234       5 235         8
  244      22 245       18
  251      23 259         7
  260      15 260       17
  262      17 263       13
  263      25 266         8
  266      24 270       17
                             Partial
  271       5 271       15 line
  272       3 273       18
  274      24 275         3
  275      13 275       22
  277      25 278       19
  282       7 282       11
                             Partial
  282      20 283         3 line




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                                       Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                       Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Basquin, William
Date of Deposition: May 9, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
    4      13      4    24
    5       3      5      9
    9      10      9    25
   11      23    12     18
   17       6    17     19
   22       4    22       8
   22      17    23     11
   25      24    26     15
   27       4    27       6
   27       8    27     10
   30       7    30     11
   37      23    38     19
   38      20    38     21
   38      23    38     25
   39       1    39     17
   43      15    43     17
   43      20    44     18
   54      21    57       4
   60       3    60     10
   73      15    73     21
   80       3    80       9
   83      13    83     14
   83      16    83     21
   83      22    83     24
   84       2    84       6

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                                       Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                       Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Basquin, William
Date of Deposition: May 9, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   88      25    89     20
  101       5 101       25
  102       2 102         2
  102       3 102         3
  102       5 102       16
  106       2 106       16
  113       3 113         9
  118       4 118       11
  125      15 125       16
  126      15 126       16
  126      18 127         2
  128      12 128       25
  129      13 129       15
  129      17 129       19
  130       8 130       20
  131      19 132         1
  134      16 134       21
  134      23 136       20
  154      22 155       17




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                       Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 10 of 120 PageID#
                                                                  12657
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Bell, Christopher
Date of Deposition: June 26, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   17       6    17     21
   17      22    18     11
   18      21    19       5
   20      24    21       1
   21       4    21     10
   21      16    21     21
   21      23    21     25
   22       2    22       5
   22       8    22     16
   22      19    23       1
   23      19    23     21
   23      23    24       4
   24       7    24       9
   25       5    25       8
   25      16    25     22
   25      25    26       6
   26       8    26     20
   29      17    29     25
   30       7    30     10
   33       1    33     23
   34       9    34     10
   42       8    42     11
   42      14    42     14
   42      16    42     19
   42      21    42     21

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                                                                  12658
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Bell, Christopher
Date of Deposition: June 26, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   46       7    46       9
   46      10    46     13
   46      15    46     15
   46      21    47       2
   47       4    48     11
   48      12    48     14
   48      16    49       8
   49      11    50       2
   51      20    51     24
   52       7    52     11
   53      16    53     18
   53      20    54       1
   54       3    54       6
   54       9    54     11
   54      21    55       1
   55       4    55     11
   55      14    55     16
   55      22    56       4
   62       7    62       8
   62      11    62     14
   74      17    74     22
   77      23    78       1
   78       4    78       7
   78      20    78     24
   79       2    79     10

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                                                                  12659
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Bell, Christopher
Date of Deposition: June 26, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   79      12    79     14
   79      17    79     20
   82       7    82     15
   90      24    91       5
   92      22    94       8
   95      11    95     16
   95      23    96       9
   96      19    97     11
   97      23    98     13
   98      14    98     22
   99      10    99     15
   99      20    99     23
  100      17 100       23
  101       1 101         7
  109      22 109       24
  110       4 111         1
  111       4 111         4
  115      11 115       15
  115      19 115       20
  119       5 119       15
  120       4 120         8
  120      11 120       13
  127      10 128         2
  128       9 128       13
  132      18 132       20

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                       Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 13 of 120 PageID#
                                                                  12660
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Bell, Christopher
Date of Deposition: June 26, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  133       2 133         5
  133       6 133         8
  133      11 133       13
  133      15 133       21
  134       1 134         1
  134       3 134         6
  135       9 135       12
  135      15 135       17
  136       2 136         4
  136       5 136         6
  136       9 136         9
  136      11 137         3
  137       6 137         8
  137      10 137       12
  137      14 137       14
  137      16 137       20
  137      23 137       23
  137      25 138         2
  138       5 138       10
  138      12 138       14
  138      17 138       17
  138      19 138       22
  138      23 138       25
  139       4 139         4
  141      14 141       17

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                                                                  12661
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Bell, Christopher
Date of Deposition: June 26, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  144       2 144         7
  144      10 144       12
  146      23 147         1
  147       4 147       10
  161      16 162         1
  162       4 162       16
  177       9 177       13
  177      16 177       16
  180      12 180       18
  180      22 181       13
  181      17 182         8
  185       7 185       11
  185      15 186         1
  186       4 186       15
  191       5 191         6
  191       9 191         9
  191      12 191       12
  191      14 191       25
  194      15 194       18
  194      21 194       25
  195      13 195       16
  195      19 195       22
  196       3 196       10
  196      13 196       15
  196      18 196       21

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                                                                  12662
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Bell, Christopher
Date of Deposition: June 26, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  196      23 197         5
  201      23 202         1
  202       3 202       12
  202      14 202       23
  203       1 203         4
  203       7 203       24
  204       2 204         3
  204       9 205         4
  205       7 205       10
  205      12 205       24
  206       2 206       13
  206      17 206       22
  206      25 207       22
  208       4 208         5
  211       7 211         9
  211      11 211       17
  211      20 212         9
  212      12 212       23
  215      10 215       12
  215      16 216       21
  217       2 217       24
  218       2 218       12
  218      16 220         3
  220       5 221         6
  221      24 222       16

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                                                                  12663
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Bell, Christopher
Date of Deposition: June 26, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  222      19 223         8
  223      11 223       12
  224      18 224       21
  225       1 225         8
  225      11 225       17
  226       4 226       10
  226      12 226       13
  227      14 227       17
  231      15 232         6
  232      22 232       23
  232      25 233         7
  233      10 233       19
  238       7 238       12
  238      14 238       17
  246       2 246         9
  246      10 246       13
  246      16 247         1
  249      19 249       22
  249      25 250         2
  257       4 257       13
  257      16 257       18
  264       8 264       12
  264      14 265         7




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                                                                  12664
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Benjamin, David
Date of Deposition: June 11, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
    8       3      9      4
    9       5    10     22
   11      18    11     24
   14      25    15       3
   15      15    16       1
   17       1    17       7
   17      10    17     10
   20      13    20     25
   21       5    21     23
   21      24    22       3
   26       4    26     25
   27       3    27       6
   27      16    27     24
   28       2    28       3
   28      23    30     11
   30      19    30     20
   30      24    31     21
   31      24    32       4
   34       3    34       6
   34      11    34     11
   36      24    37       7
   37      19    38     19
   42      19    42     23
   43       1    43     13
   43      16    43     19

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                                                                  12665
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Benjamin, David
Date of Deposition: June 11, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   45       4    45     17
   45      20    45     20
   48      12    48     19
   48      25    49       5
   49       9    49     18
   49      19    49     22
   49      23    50       1
   50      10    51     11
   51      12    51     12
   51      17    52     25
   53       1    54     20
   55       8    56       3
   57       7    57       8
   57      11    57     13
   57      16    57     17
   58       2    59     16
   59      18    60       9
   60      10    61       2
   62       3    62       6
   62       8    62     13
   65      16    65     25
   66       3    66     15
   68      11    68     16
   69      12    69     23
   76       2    76     17

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                       Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 19 of 120 PageID#
                                                                  12666
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Benjamin, David
Date of Deposition: June 11, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   76      21    76     21
   91      19    91     24
   92       7    92       9
   92      12    92     13
  108      21 108       25
  109       4 110         6
  110       9 110       11
  111       4 111       13
  111      18 111       21
  111      23 112       16
  114      21 115         6
  115       9 115         9
  115      11 116       10
  116      11 116       16
  123      12 123       15
  123      20 123       20
  124      18 124       24
  147       1 148       11
  152      24 155       25
  156       4 156       12
  157      20 159       17
  159      21 159       25
  160       2 160         7
  160      10 161       15
  161      20 162         1

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                                                                  12667
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Benjamin, David
Date of Deposition: June 11, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  162       2 162         7
  162      11 162       14
  162      16 162       24
  163       9 163       22
  163      25 164       22




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                                                                 12668
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Blietz, Jeremy
Date of Deposition: May 10, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   18       6    19       7
   19      12    19     14
   19      25    20       9
   29      15    29     23
   34      14    34     18
   34      21    35     11
   35      21    36     14
   36      16    36     16
   38       2    38       5
   38       8    38     21
   38      25    39       4
   40      21    41       5
   74      21    74     25
   75       2    75     10
   75      19    76       7
   76      10    76     10
  102       2 102       23
  157       2 158         6
  158       7 159       19
  159      20 160       15
  160      16 160       24
  161       4 162       10
  163       6 163       25
  164       2 165       19
  165      23 166       11

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                                                                 12669
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Blietz, Jeremy
Date of Deposition: May 10, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  166      15 166       25
  169      14 169       20
  170      20 171       16
  171      20 172         1
  172       2 172       17
  172      19 173       11
  173      13 173       24
  176       9 176       15
  176      17 177       10
  177      12 177       25
  178       2 178         9
  178      11 178       16
  178      18 180         1
  181      22 182         1
  182       5 182       11
  183      18 183       25
  184      16 184       22
  185       2 185         7
  185      23 186         2
  187       7 187       14
  189       4 189       24
  194      16 195       24
  199      25 201         4




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                       Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 23 of 120 PageID#
                                                                  12670
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Cadenhead, Randall
Date of Deposition: June 4, 2019

              Initial Designations                         Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes          Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                 Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                     lines)                                      lines)
    9      20      9    24
   31       1    32       5
   33      10    34       5
   36       2    36       6
   70      25    73     10
   73      23    75     14
   76       9    76     19
   76      21    76     21
   76      24    76     25
   77      20    80     13
  102       6 102         9
                             Partial
  102      12 103       22 line
  106      10 106       16
  107       9 108       20
  109      15 109       25
  110      21 111         6
  111      10 111       17
  111      22 111       24
  112       1 112         2
  112      11 112       19
  112      21 113         3
  113       4 113         5
  113       8 113       10
  113      16 115         5

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                       Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 24 of 120 PageID#
                                                                  12671
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Cadenhead, Randall
Date of Deposition: June 4, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  118      23 119         6
  119      12 120         3
  120       5 120       17
  128      24 130         3
  130       7 131       12
  131      19 131       19
  153       6 153       19
  155      22 155       25
  156       4 156       24
  160       9 161       15
  182       8 182       10
  189      25 190         2
  190       6 190       16
  190      20 190       21
  190      24 190       24
  191      12 191       19
  191      22 192         8
  198      11 199         7
  199      18 199       20
  199      23 200       16
  200      19 201         2
  201       8 201       11
  201      16 201       16
  201      17 202         2
  202       4 202         8

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                                                                  12672
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Cadenhead, Randall
Date of Deposition: June 4, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  206      18 207         5
  207       9 207       15
  207      16 207       20
  207      22 208       18
  242      11 242       16
  243       2 244         9
  245      23 246         4
  267       7 268       10
  268      11 269       20
  282       1 282         4
  282       7 282       21
  283       2 283       14
  284       2 284       17
  285       2 285         9
  285      18 286         2
  289      17 290         1
  290       2 290         6
  290       7 290         9
  290      11 290       16
  290      18 291         2
  291       2 291       10
  291      13 291       24
  291      25 292         1
  293       2 293       13
  298       6 298       23

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                       Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 26 of 120 PageID#
                                                                  12673
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Cadenhead, Randall
Date of Deposition: June 4, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  299       2 299       13
  300      18 300       20
  300      22 300       24
  314       6 315       20
  316      18 318       22
  321       2 321       21
  322       3 322       25




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                      Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 27 of 120 PageID#
                                                                 12674
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Carfora, Neil
Date of Deposition: May 1, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   11      22    12       3
   12      12    12     15
   13       5    13     13
   13      18    14       6
   15       6    15       8
   15      20    16     24
   28      16    30       7
   30      10    30     13
   30      14    30     21
   32       6    32       9
   34      14    34     19
   34      20    35       2
   36       4    36     16
   38       9    38     17
   51       9    51     18
   52      11    52     16
   52      20    53       2
   53       5    53     10
   53      17    53     22
   53      25    54       5
   55      25    56       6
   56      10    56     13
   56      17    56     20
   56      25    57       3
   57       6    58     19

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                                                                 12675
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Carfora, Neil
Date of Deposition: May 1, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   60      17    61       9
   63      16    63     23
   64      23    65       3
   65       6    65       8
   66       4    66       6
   66       9    68     13
   68      17    69     14
   69      22    70       4
   72      23    73       2
   73       5    73     12
   73      16    73     17
   74       2    74       4
   74       7    74       8
   74      20    74     25
   75      11    75     16
   77       5    77     11
   78      17    79     14
  123      14 123       18
  123      21 124         1
  124       5 125         3




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                       Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 29 of 120 PageID#
                                                                  12676
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Delgado, Marcus
Date of Deposition: July 1, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
    4      13      4    21
    7       9      9    19
   15      10    15     16
   16       4    16     24
   18      24    20       1
   20      18    21     15
   27       9    27     24
   29       2    29     11
   40      18    41     14
   41      16    41     16
   41      17    41     23
   41      24    42       4
   42      19    42     20
   42      23    43     11
   65       5    65     10
   67       3    67     11
   69       1    70       8
   72      17    73       7
   75       2    75     20
   77       9    77     14
   78       9    78     13




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                       Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 30 of 120 PageID#
                                                                  12677
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Jang, Dong
Date of Deposition: July 2, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
    8       9    13     14
   13      17    14     10
   14      23    15       7
   16       1    16       4
   40      25    41     14
   43      10    44       9
   49      20    50       5
   50      10    50     15
   50      17    51     21
   51      23    52       7
   52       9    52     21
   53      23    54       2
   54      13    54     22
   75      20    76     15
   87       5    87     10
   87      13    88       5
   89       8    89     13
   93      19    93     24
   95       6    95       7
   95      10    95     15
   95      18    95     21
   97      18    97     25
   98       3    98     23
   99      13 100         6
  100       7 100       25

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                       Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 31 of 120 PageID#
                                                                  12678
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Jang, Dong
Date of Deposition: July 2, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  114      25 115         3
  115       6 115         7
  121       8 121       11
  121      15 121       21
  130      17 131         6
  131       9 131       14
  131      17 132         6
  132      10 132       19
  132      20 133         4
  133       7 133       14
  133      17 133       23
  133      25 134         4
  154       6 154       16
  158      13 158       24
  177      20 177       24
  178       2 178       14
  206       4 206         7
  206      10 206       22
  214      25 215         5
  215       8 215       18
  215      21 215       25




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                      Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 32 of 120 PageID#
                                                                 12679
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Flott, Matthew
Date of Deposition: May 29, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
    9      11    10       5
   10      10    10     13
   10      16    11     10
   12       2    12       6
   19       3    19     23
   20       7    20     13
   26       9    27     23
   28       9    29     20
   32      23    36     25
   40      21    41     10
   44       6    44     17
   44      18    45     10
   45      13    46       2
   57       1    57     21
   57      23    58     15
   59      16    60       5
   60       6    60     15
   60      23    61     11
   61      21    62       3
   69      17    70       2
   71       3    71       9
   71      13    72     11
   72      15    72     18
   72      22    72     22
   74       4    74       6

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                      Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 33 of 120 PageID#
                                                                 12680
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Flott, Matthew
Date of Deposition: May 29, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   74       9    74     24
   82      13    82     17
   82      18    82     22
   82      25    83     10
   88      13    89       7
   92      10    95       3
   95       6    95       8
   95      13    95     18
   95      21    96       2
   96      21    97       1
   97       6    97       9
   97      12    97     15
   97      24    97     24
   97      25    98       6
   98      12    99       2
   99       5 100         8
  103      10 104         2
  104      13 106       14
  107      24 108         5
  110       8 111         2
  111       5 111         9
  111      16 112         9
  113       5 113       11
  119       7 119       23
  120       1 120         2

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                                                                 12681
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Flott, Matthew
Date of Deposition: May 29, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  120      12 120       25
  123      15 123       19
  123      22 124       14
  124      17 125         6
  125       9 125       21
  125      24 126         2
  126       5 126       11
  126      13 127       11




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                                                                 12682
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Foley, Thomas F.X.
Date of Deposition: May 2, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
    9      18    10     22
   11       2    12       4
   12      11    13     15
   14       6    14     10
   14      19    14     21
   14      22    15     13
   17       9    17     12
   17      16    17     19
   21      13    21     18
   21      21    21     23
   23       6    24     14
   24      17    24     18
   26      20    26     23
   27       2    27     15
   27      22    27     24
   28       3    28       8
   28      11    28     14
   28      25    29     10
   29      16    29     20
   29      23    29     25
   30      23    31       4
   31       8    31     13
   31      16    31     16
   31      20    33     12
   35      16    35     21

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                      Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 36 of 120 PageID#
                                                                 12683
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Foley, Thomas F.X.
Date of Deposition: May 2, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   36       2    36       3
   37      14    38       5
   38       8    38     12
   38      15    38     15
   38      16    38     21
   38      24    39       5
   41      14    41     16
   41      19    41     21
   42      14    42     25
   43      12    43     23
   47      22    47     25
   48       4    48     10
   48      11    48     15
   48      18    48     22
   51       4    51       7
   51      10    51     25
   52      13    52     19
   52      24    53     13
   53      17    53     19
   54       4    54       5
   54       9    54     17
   55      12    55     25
   56      22    57       2
   57      10    58       9
   58      12    59     13

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                                                                 12684
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Foley, Thomas F.X.
Date of Deposition: May 2, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   59      14    59     15
   59      24    60     19
   61       2    61       3
   61       6    61     16
   61      19    62     13
   62      16    63     21
   64       5    64     17
   64      21    66     25
   67       5    67       7
   67      10    69       7
   69      15    69     18
   69      22    71       7
   71      10    71     10
   73       9    74       4
   74       5    74     11
   76      14    77       2
   78      11    78     13
   78      16    78     20
   78      23    79       7
   79       9    79     10
   79      11    79     14
   79      17    80       2
   80       5    80       6
   80       7    80     10
   80      14    80     18

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                                                                 12685
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Foley, Thomas F.X.
Date of Deposition: May 2, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   80      21    81       8
   81      11    81     12
   81      13    81     15
   81      18    81     21
   82      12    82     18
   83       7    83     13
   83      16    84       2
   84       5    84     19
   84      22    85       7
   85      10    85     13
   85      16    85     16
   85      19    85     22
   85      25    86       6
   86       9    86     11
   86      21    86     25
   87       4    87       9




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                     Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 39 of 120 PageID#
                                                                12686
                                        Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                        Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Frederiksen-Cross, Barbara
Date of Deposition: June 28, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
    7      18      8    20
   12       6    12     19
   14      15    14     19
   14      22    14     22
   15      18    15     22
   16       1    16       3
   16       4    16       5
   18      11    18     17
   18      18    18     22
   27       7    27       9
   27      10    27     16
   27      19    27     21
   28       8    28     15
   28      19    29       4
   29       6    29     15
   35      15    35     19
   41      19    42       2
   42       5    44       1
   44       2    44     21
   45       2    45       5
   45       8    45     19
   45      22    46       4
   46       5    46     11
   47      14    48       6
   55      17    56     10

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                                                                12687
                                        Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                        Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Frederiksen-Cross, Barbara
Date of Deposition: June 28, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   58       5    58       9
   58      12    58     17
   59       2    59       5
   79       6    79     10
   84      18    85       2
   85       7    85     12
   87       5    88       3
   88      16    88     19
   88      20    89       8
   89       9    89     12
   89      13    89     17
   89      21    90     13
  124      17 125         1
  125       3 125       22
  126       1 126       10




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                      Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 41 of 120 PageID#
                                                                 12688
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Gallien, Jason
Date of Deposition: May 21, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
    9       8      9    25
   10       5    10       9
   12       3    12       8
   14      23    15       2
   15       6    15       9
   16       1    16       4
   19       6    19     24
   20       1    20       7
   22       5    22     10
   23      19    23     21
   23      24    24       1
   24       2    24       4
   24      18    25     24
   26       8    26     11
   26      14    26     22
   26      23    27     15
   27      16    27     17
   27      20    27     22
   28      23    29       3
   29       4    29       8
   29       9    29     12
   29      25    30       9
   30      16    32     16
   33       4    34       6
   34       7    34       9

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                      Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 42 of 120 PageID#
                                                                 12689
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Gallien, Jason
Date of Deposition: May 21, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   34      11    34     13
   34      14    35       3
   40       1    40     22
   42      25    43       4
   43       8    43     17
   43      21    44       3
   47       2    48       2
   52       9    52     16
   55       5    55     13
   55      23    56     11
   60       7    60       9
   60      12    60     16
   60      17    60     19
   60      20    61     13
   61      18    61     21
   64      10    64     14
   66       3    67       1
   67       4    67       5
   67       6    67       7
   67       9    67     10
   69      17    69     20
   70       8    70     16
   71       1    71       5
   71       8    71     16
   72       7    72     13

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                                                                 12690
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Gallien, Jason
Date of Deposition: May 21, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   73      22    73     24
   74       2    74       3
   75      14    76       2
   76       3    76     15
   77      23    78       4
   78       7    78     13
   78      20    78     25
   83      12    84       9
   84      10    85       7
   86       4    86       5
   86       6    86       9
   86      14    88       4
   89       9    90     17
   90      25    91     10
   93      10    95       3
   95       7    95       9




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                                                                  12691
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Glass, Jon
Date of Deposition: June 5, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
    9       2      9    17
    9      22    10       4
   10       6    10     16
   22       6    22     15
   23      13    23     17
   23      22    24       5
   32      25    33       2
   33       5    33       7
   34       2    34       6
   36      18    36     24
   37       2    37       9
   37      13    37     13
   40      24    40     25
   41       3    41       3
   46      17    46     20
   46      23    46     25
   47      23    47     24
   48       2    48       2
   48       3    48       4
   48       6    48       9
   67      23    68       1
   68       4    68     17
   68      20    68     24
   69       1    69       2
   69       4    69     12

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                       Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 45 of 120 PageID#
                                                                  12692
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Glass, Jon
Date of Deposition: June 5, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   69      15    70       1
   70       3    70     12
   70      14    70     14
   70      15    70     21
   71       1    71       1
   71      25    72     10
   72      12    72     13
   73      15    73     23
   73      24    74       7
   78       2    78       8
   79      22    80       8
   86       4    86     11
   86      17    87     16
   89      15    90       7
   90      11    90     18
   91       7    91     19
   93      12    93     23
   94       7    94     10
   94      13    94     18
   94      21    94     21
   96       9    96     10
   96      13    96     20
   96      22    97       7
   97      10    97     15
   97      18    97     19

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                       Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 46 of 120 PageID#
                                                                  12693
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Glass, Jon
Date of Deposition: June 5, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   97      20    98     14
   99       2    99     11
   99      18 100         1
  103       3 103       17
  103      19 103       20
  107      23 108         1
  108       3 108         3
  116      18 116       24
  117       1 117       18
  117      22 118         5
  118       8 118       21
  118      24 118       24
  128       1 128       12
  128      15 128       21
  128      24 129         2
  133       5 133       10
  133      11 133       14
  133      17 133       19
  137      19 137       21
  137      24 138         2
  138       6 138       11
  138      16 138       22
  146       5 146       11
  146      12 146       18
  146      19 146       25

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                                                                  12694
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Glass, Jon
Date of Deposition: June 5, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  147      20 148         7
  148      11 149         1
  151      11 152         1
  152       2 152       12
  154      20 155         8
  156       5 156       13
  156      22 157         9
  157      17 158         2
  158      24 159       19
  160      14 160       24
  164      21 165         1
  165       4 165       15




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                      Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 48 of 120 PageID#
                                                                 12695
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Ikezoye, Vance
Date of Deposition: May 6, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   10       3    10       7
   11       2    11     11
   11      17    12       3
   12       9    12     13
   13       1    13       2
   13       4    13       4
   16      20    17     12
   17      19    18     13
   39      20    40       2
   40       4    40       8
   40      21    53       1
   67       9    68       4
   69       3    69     17
   69      20    70       8
   70      11    70     20
   71      15    71     24
   72       4    72     22
   73      13    73     15
   73      17    75       3
   75       9    75     19
   75      21    75     23
   76       1    76     15
   78      11    78     23
   87       6    87     20
   90       4    90     24

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                      Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 49 of 120 PageID#
                                                                 12696
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Ikezoye, Vance
Date of Deposition: May 6, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   91      16    91     18
   91      20    91     20
  107      10 107       11
  107      13 107       25
  108       3 108       13
  111      17 112         5
  112       8 113       21
  116       4 116       20
  116      22 116       22
  117       8 117       25
  118       3 118       14
  118      16 119         3
  119       6 119       11
  120       9 121         5
  130      13 130       22
  130      24 131         3
  131       9 131       20
  131      23 132         6
  133       8 133         9
  133      11 133       17
  137      24 138         7
  138      10 138       18
  138      20 139       12
  139      13 139       18
  139      21 140         1

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                                                                 12697
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Ikezoye, Vance
Date of Deposition: May 6, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  140       3 140       13
  140      16 140       16
  140      20 140       21
  140      24 141         4
  143      15 143       17
  143      21 143       21
  143      22 143       23
  144       1 144         3
  151       6 151         8
  151      10 151       15
  155       4 155       17
  155      20 156         6
  158      19 158       23
  159       1 159         5
  166       2 166       10
  167      12 169         2
  169       4 169       17
  173       5 173       14
  173      16 173       24
  174       8 174       13
  174      17 174       24
  175       3 176         2
  176       5 177         5
  177       6 178         7
  196       5 196         9

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                                           12698
                   Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                   Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)




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                       Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 52 of 120 PageID#
                                                                  12699
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Jarchow, Paul
Date of Deposition: April 10, 2019

              Initial Designations                         Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes          Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                 Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                     lines)                                      lines)
    7      16      8      7
    8      11      8    19
   10       4    11     19
   12       9    12     24
   16      12    16     20
   16      21    17     12
   17      17    18     17
   18      23    21     17
   21      20    22     13
   22      14    22     17
   26       5    26     16
   26      17    27       6
   38       8    38     16
   39       3    39       5
                             Partial
   41       1    41     24 line
   63      18    63     24
   77       2    77     10
   77      12    77     18
   78       3    78       9
  115      17 116       16
  125      10 126         1
  128      20 129         5
  151      15 152       10
  181      21 182       10

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                                           12700
                   Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                   Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)




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                      Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 54 of 120 PageID#
                                                                 12701
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Kahn, Paul
Date of Deposition: May 7, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   12      21    13     22
   14      25    15       3
   15      14    15     20
   17      13    17     16
   18       5    18       7
   18      17    18     21
   19      14    19     18
   20      19    21       6
   24       2    25     11
   27      21    28     11
   30      17    30     19
   30      24    31     11
   35      12    35     17
   35      22    35     23
   35      25    36       4
   36       5    36     20
   38       1    38       3
   38      25    39       2
   39       3    39     10
   39      11    39     14
   39      18    39     21
   39      23    40     11
   43       2    43     24
   44       4    44       5
   44       8    44     12

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                      Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 55 of 120 PageID#
                                                                 12702
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Kahn, Paul
Date of Deposition: May 7, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   46      13    46     14
   46      15    47       1
   47      11    47     11
   49      12    49     14
   50       2    50       3
   50       5    50     17
   51      21    52       6
   54       2    54       6
   54       9    54     17
   54      19    54     21
   54      22    54     23
   55       1    55       1
   55      23    56     17
   56      20    56     25
   57      13    58     11
   58      15    58     18
   59      19    59     21
   60      15    60     23
   61       1    61       4
   63       2    64       9
   64      15    64     18
   64      19    64     23
   65       4    65       4
   65       9    65     10
   65      23    66     13

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                      Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 56 of 120 PageID#
                                                                 12703
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Kahn, Paul
Date of Deposition: May 7, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   66      25    67       4
   67       8    68       8
   68      11    68     18
   70       3    70     17
   70      20    71       1
   71      12    71     14
   71      17    71     18
   71      20    72     25
   73       3    73       6
   73       8    73     13
   73      21    74       1
   74       6    74       9
   74      12    74     15
   74      18    75       9
   81      12    81     16
   81      19    81     20
   82       4    82     17
   86      21    87     15
   87      18    87     22
   88       2    89       2
   90       8    91     12
   91      14    91     20
   92      14    92     22
   92      24    92     25
   93       2    94       3

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                      Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 57 of 120 PageID#
                                                                 12704
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Kahn, Paul
Date of Deposition: May 7, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   94       6    94     19
   94      25    95     12
   95      22    95     25
   96       3    96       9
   96      12    96     13
   97      23    98     14
   98      25    99     15
  100      11 100       21
  101      24 102         9
  102      12 102       14
  103      13 103       17
  103      20 104       14
  104      17 105         4
  106       5 106       11




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                      Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 58 of 120 PageID#
                                                                 12705
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Kokakis, David
Date of Deposition: May 24, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   10      17    10     20
   10      22    11       6
   11       8    12     16
   15      14    15     21
   17       8    18       1
   21      16    21     17
   21      24    22     17
   22      22    22     23
   28       7    28       9
   28      15    29       5
   29       8    29     10
   30      15    30     20
   31       8    31     22
   31      24    31     25
   32       1    32     12
   34       2    34       6
   34      11    34     14
   35       2    35     14
   35      19    37       4
   37      13    38     13
   39       8    39     11
   40      11    40     20
   40      21    40     23
   40      25    41       4
   42      17    42     21

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                      Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 59 of 120 PageID#
                                                                 12706
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Kokakis, David
Date of Deposition: May 24, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   42      22    42     24
   43       1    43       6
   43      17    43     19
   43      21    43     21
   46       1    46       4
   46      25    47     12
   61      16    61     24
   61      25    62       2
   62       4    62       6
   79      25    80     22
   80      24    81       5
   81       7    83     13
   83      14    84       8
   84      16    84     24




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                      Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 60 of 120 PageID#
                                                                 12707
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Leak, Wade
Date of Deposition: May 14, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   10      17    11     10
   11      16    11     20
   12      19    12     21
   12      24    13     18
   19      11    20       9
   22       4    22       6
   24       2    24       4
   27      23    28       2
   28      15    28     20
   32       5    32     15
   32      23    33       5
   33      16    34       5
   51       2    51       4
   51       9    51     13
   51      16    51     17
   53      19    54     11
   56      14    56     20
   58      17    59     10
   59      16    59     16
   60      10    60     14
   60      23    61     15
   61      18    61     24
   64      19    65       2
   65       5    65     20
   65      23    66       8

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                                                                 12708
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Leak, Wade
Date of Deposition: May 14, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   67       8    68       3
   68      16    68     25
   70      22    71     11
   71      14    73     21
   73      25    74     13
   74      18    74     23
   75       3    75     21
   76       2    76       9
   76      12    76     12
   77      15    78       4
   78       9    78     13
   78      16    79       4
   79       8    79     14
   79      18    80       6
   80      12    80     19
  103      10 103       15
  104      10 104       21
  105       7 105       10
  105      12 105       14
  105      15 106       10
  106      11 106       12
  106      18 107         6
  108       9 109       17
  109      18 109       20
  110      10 111       10

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                      Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 62 of 120 PageID#
                                                                 12709
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Leak, Wade
Date of Deposition: May 14, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  111      15 111       21
  112       3 112         5
  112       9 112       12
  112      15 112       19
  112      22 113         5
  113       8 113       16
  113      20 113       20
  113      23 114         4
  115       3 116       18
  116      19 116       21
  117       2 117       12
  117      13 117       17
  118      24 119         3
  120      22 121       22
  121      25 122         6
  137      19 138         7
  145       7 146         2
  153      21 153       24
  154       4 154       13
  154      20 155         3
  156      24 157         9
  157      12 157       14
  157      23 158       19
  159      12 160         5
  160      14 160       24

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                                                                 12710
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Leak, Wade
Date of Deposition: May 14, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  160      25 161       10
  161      20 162       13
  162      18 162       23
  175      18 175       23
  178      12 179       17
  179      23 180         6
  180      13 180       23
  181      18 182       24
  183      21 184         6
  185      10 185       13
  189       9 189       15
  190      23 190       25
  191       5 192         9
  192      10 192       24
  193       4 194         2
  197      17 197       20
  197      23 198       15
  198      19 198       22
  203      15 203       17
  203      20 203       22
  204      13 204       20
  205      17 207         4
  207       5 207         7
  207      10 208       11
  208      22 209       10

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                                                                 12711
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Leak, Wade
Date of Deposition: May 14, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  209      17 209       18
  209      23 210         3
  212       7 212       13
  214       2 214       21
  214      24 215         4
  215      19 216         4
  216      15 216       17
  216      21 217         2
  217       5 217         7
  217      10 217       25
  218      15 218       19
  218      21 218       24
  219      22 220         3
  220       6 220       15
  220      19 221         3
  221       6 221       14
  221      15 221       21
  221      24 221       24
  222       3 222         9
  222      12 222       12
  222      17 223         2
  223       9 224         3
  224      12 224       25
  225       9 225       14
  225      20 225       22

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                                                                 12712
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Leak, Wade
Date of Deposition: May 14, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  225      25 226         4
  226       7 226       17
  227       4 227       22
  230      13 230       15
  230      19 231         3
  231       9 231       15
  231      18 231       19
  237      13 238         6
  238       9 238       17
  247      14 247       17
  247      19 247       19
  249       6 249         8
  249      21 250       19
  251       2 251       16




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                                                                  12713
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Lehr, William
Date of Deposition: June 25, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   48      13    48     20
  100      12 100       20
  111       4 111       17
  116      16 117       12
  134      22 135         7
  157      20 157       22
  312      13 313       12




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                       Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 67 of 120 PageID#
                                                                  12714
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Lesser, Jill
Date of Deposition: June 21, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
    5       2      5      4
    7       2      7      5
    7       8      7    15
    9       5      9      6
   11      11    11     14
   12      11    13     17
   14      16    15       8
   15      16    16       8
   16      18    17       9
   17      19    18     11
   28       7    28     20
   29       7    29       8
   29      16    29     20
   30       4    30       5
   32       6    32       8
   32      13    32     18
   32      22    33     14
   34       8    34     18
   35      12    35     18
   35      20    37     13
   42       6    42     13
   48       9    49       3
   49      15    51       2
   51       5    54     15
   54      17    55       8

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                                                                  12715
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Lesser, Jill
Date of Deposition: June 21, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   55      10    57     18
   57      20    57     20
   63      20    64     18
   64      21    65       4
   65       6    65       7
   67      16    68       8
   69      19    69     21
   70       8    70     12
   71       2    71     13
   72       2    72       6
   72       8    73     12
   74      12    76       2
   77      22    78       2
   79       9    79     20
   80       7    81       6
   81       9    82       5
   83       4    83     13
   83      15    83     18
   86      16    86     21
   87       3    87       8
   87      20    88       6
   90      18    91     20
   95      15    95     16
   95      18    96       2
   96       7    96       9

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                                                                  12716
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Lesser, Jill
Date of Deposition: June 21, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   96      12    96     17
   96      20    97     19
   97      22    98     16
  101      12 102         5
  102       9 102       11
  102      13 103         8
  104       6 106         4
  106       6 106         9
  106      12 106       20
  106      22 107       21
  108      14 109         1
  109      12 110       17
  110      20 111       17
  111      20 112         3
  112       6 112       13
  113      17 114         8
  116       4 116         8
  116      11 116       21
  120       9 120       21
  121       2 121         4
  121       7 121         9
  150      18 151         2
  165      12 165       22
  166       3 166       13
  166      16 167         4

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                                                                  12717
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Lesser, Jill
Date of Deposition: June 21, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  167       8 167       22
  179       3 179       21
  187       2 188         1
  189       3 189         8
  189      11 189       12
  198       6 198         8
  202       2 202         3
  202       6 202         6
  202      20 202       21
  203       1 203         9
  205       8 205       10
  205      13 205       18
  205      21 205       22
  206      22 207         7
  221       2 221         8
  226      12 226       22
  233      13 233       20
  237      19 237       21
  238       2 238         3
  239      12 239       16
  239      19 239       22
  241      14 241       17
  242       5 242       12
  243      12 243       19
  243      22 244         4

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                                                                  12718
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Lesser, Jill
Date of Deposition: June 21, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  244       7 244         7
  244      12 245         7
  245      10 245       15
  245      20 246       11
  246      21 247         4
  248       3 248         6
  248       8 248       12
  252      11 252       21
  268       4 268         6
  268       9 268       10
  273       8 273       10
  273      12 274         5
  274      10 274       13
  274      16 275       14
  277      17 278         3
  278      14 278       16
  278      21 280         7
  280       9 280         9
  286      12 286       14
  286      17 287         1
  287       9 288       13
  288      16 288       17
  290      21 291         4
  293       8 293       22
  295      15 296         3

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                       Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 72 of 120 PageID#
                                                                  12719
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Lesser, Jill
Date of Deposition: June 21, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  297      19 297       20
  297      22 298       12
  298      16 298       18
  301      22 302         5
  302       8 302         8




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                       Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 73 of 120 PageID#
                                                                  12720
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Marks, Steven
Date of Deposition: June 10, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   10       2    10       4
   10       7    10       8
   10      11    10     13
   11      17    13     23
   14       3    14       9
   14      17    14     18
   14      25    15     10
   17       3    17       9
   19      13    19     15
   19      17    20     24
   21       3    21       5
   21      13    21     16
   21      25    22       8
   22      22    22     25
   23      15    24       7
   25       1    25       4
   25      10    26       2
   26       8    26     17
   27       4    28       7
   28      22    30       2
   31      15    32     18
   33       7    34       5
   34      12    34     22
   34      24    35       8
   35      24    36       3

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                       Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 74 of 120 PageID#
                                                                  12721
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Marks, Steven
Date of Deposition: June 10, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   36       8    37       4
   43      11    43     25
   44       8    44     21
   46      11    47     19
   58      13    58     16
   58      18    58     21
   59       2    59     11
   60      10    61     17
   64       8    65       7
   65      25    66       7
   70      20    71       8
   71      11    71     14
   71      16    71     21
   75      15    77       2
   77       6    77     10
   77      12    78     22
   84      21    85     10
   85      12    85     17
   86       5    86       8
   86      12    87     13
   87      20    88       7
   88      15    88     17
   90      12    90     24
   93      17    94     22


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                                                                  12722
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Marks, Steven
Date of Deposition: June 10, 2019

              Initial Designations                         Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes          Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                 Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                     lines)                                      lines)
                             Partial
   95       5    95     15 line
                             Partial
   95      21    95     24 line
   96      14    96     21
   96      23    98       7
   98      14    99       9
   99      19    99     22
   99      24    99     24
  100      12 101         2
  101       4 102       10
  102      20 103         2
  103      10 103       17
  117       3 117       15
  120      17 121         3
  121       7 123       14
  124       9 124       17
  124      22 124       23
  125       8 126         5
  129       4 129         7
  129      19 129       24
  130       9 130       23
  131      14 132         1
  136       3 137       13
  137      17 137       25

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                                                                  12723
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Marks, Steven
Date of Deposition: June 10, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  138       3 138       11
  139      12 139       21
  143      12 144       24
  147       1 147         4
  147       7 147         8
  147      10 147       10
  147      12 147       12
  147      14 147       14
  147      16 147       16
  147      18 147       18
  147      20 147       20
  147      22 147       23
  147      25 147       25
  148       1 148         7
  152      15 153         2
  153      18 155         7
  155      18 156         5
  156      25 157         5
  161      12 161       18
  161      25 162         8
  169      16 170         9
  171      14 172         2
  178       6 178       11
  178      13 178       20
  179      19 180         8

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                       Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 77 of 120 PageID#
                                                                  12724
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Marks, Steven
Date of Deposition: June 10, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  180      22 181       18
  190       4 191       11
  192      18 193         8
  193      20 194         9
  196      24 197         7
  197      19 198         7
  198      17 198       22
  199      12 199       22
  200       2 200       10
  201       7 201       12
  202       1 202       15
  203      21 203       23
  204       1 204       13
  204      15 204       17
  205      13 205       24
  206      10 207       12
  207      16 207       24
  208       3 208         9
  209      10 209       19
  210       2 210       12
  210      23 211         6
  211       8 212         1
  212       5 212       13
  212      17 213       24
  214      15 215         1

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                       Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 78 of 120 PageID#
                                                                  12725
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Marks, Steven
Date of Deposition: June 10, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  215      12 216       10
  216      14 216       21
  216      25 218         9
  219      23 220       24
  221       5 222         3
  222       8 222       24
  223       4 223       24
  224       4 225         6
  227      25 228       18




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                                                                  12726
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: McCabe, George
Date of Deposition: June 20, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   50       1    50       4
   50      19    50     21
   55      16    55     20
   91      11    91     17
  105      21 107         3
  122       5 122       21
  123       5 124         1
  189       3 191         5
  193       7 193       22
  209      14 209       19
  216       3 216       10
  221      18 222         4
  258      18 258       22
  282       4 282       17




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                                                                  12727
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: McGarty, Terrence
Date of Deposition: July 2, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   21      12    21     20
   26       6    27       7
   53       5    53       9
   70       3    70     15
   91      16    92     10
   93       6    93     21
  129       5 129       22
  150       3 150       18
  150      20 152       19
  213       6 213       20
  213      22 215         1
  256      16 257       12
  268       3 269         8




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                                                                 12728
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: McMullan, Alasdair
Date of Deposition: May 23, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   10      16    10     21
   11       4    11       5
   11      10    11     14
   11      16    11     20
   12       7    12     21
   12      22    13       1
   13       7    13       9
   16      19    17     18
   20      11    20     23
   26      20    27     11
   43      13    46       1
   50      19    50     20
   50      22    51       3
   51       6    51     11
   51      12    51     24
   52       2    52       6
   59      22    59     25
   60       2    60       4
   60      16    60     24
   70      22    71       6
   71      24    72       6
   72      11    72     13
   72      18    72     24
   73      21    74       3
   74       6    74     12

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                                                                 12729
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: McMullan, Alasdair
Date of Deposition: May 23, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   76       9    76     17
   76      18    77     14
   77      15    78       4
   78      22    78     25
   79       4    80       7
   88      10    88     18
   88      20    89       1
   89      12    89     18
   91      12    91     14
   91      17    91     20
   91      21    91     24
   91      21    92     14
   98       4    98       7
   98      17    98     21
   99       5    99       9
  103       6 103       12
  103      13 103       23
  103      24 104         5
  105      21 106         4
  106      16 106       24
  107      11 107       17
  108       4 108       12
  112      22 112       23
  113       5 113       22
  116       7 116       10

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                                                                 12730
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: McMullan, Alasdair
Date of Deposition: May 23, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  116      13 116       20
  116      21 117       11
  117      15 117       25
  125      20 126         1
  126       8 126       13
  128      23 129         2
  130       9 130       22
  136       1 136         5
  136      14 136       21
  141       3 141       16
  141      19 141       22
  155      24 156         4
  156       5 156       10
  156      11 156       15
  157       3 157         9
  158      11 159       12
  159      13 159       22
  160       5 161         1
  166      14 166       21
  171      22 171       25
  172       1 172       21
  174      10 174       14
  184      13 185         5
  193      19 194         3


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                                                                  12731
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                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Monson, Christopher
Date of Deposition: April 16, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
    9       6      9    16
   10      19    10     21
   19      17    21     12
   22       2    22       5
   22      15    22     21
   24       3    24       7
   24       9    24     11
   24      13    25       8
   28       2    28       8
   28      20    30       2
   30       3    30       7
   30       8    30     20
   30      21    32     13
   32      15    32     15
   32      21    33       2
   33       5    34       2
   35       8    36       2
   37      18    38       1
   39       1    39       5
   39       7    39     12
   39      14    40       1
   40      14    41     14
   47      12    48       2
   48       6    48     10
   48      11    48     14

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                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Monson, Christopher
Date of Deposition: April 16, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   48      21    50       8
   53      11    54     14
   54      18    55       2
   55      10    55     14
   55      15    56     10
   57      14    57     19
   61      16    62       3
   62       5    62       8
   62      10    62     17
   62      19    63       1
   70      19    71       9
   71      12    71     12
   71      14    73     13
   73      15    73     17
   73      18    73     20
   74       6    74     14
   74      16    75       1
   75       2    76       6
   76       7    76     12
   77       3    77       6
   77       7    77     10
   77      11    77     12
   77      13    78       8
   78       9    79       5
   79       8    82       5

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                                                                  12733
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Monson, Christopher
Date of Deposition: April 16, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   82       7    82     13
   82      16    82     17
   82      19    82     19
   82      19    82     21
   83       3    83     12
   83      15    83     16
   83      18    85     20
   85      21    86       3
   86       6    86     16
   86      18    86     19
   86      21    88     14
   88      17    89       4
   89      17    89     19
   89      21    90       5
   92      16    93       8
   93       9    93     16
   94       4    94     16
   94      20    95       8
   95       9    96     15
   96      16    99       3
   99       4    99     19
  100       5 100       18
  101      11 101       14
  101      16 101       17
  104       2 104       11

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                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Monson, Christopher
Date of Deposition: April 16, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  104      13 104       19
  104      21 105       10
  105      12 105       14
  109       4 109         7
  109       8 109       19
  110       1 110         5
  110       6 110       10
  111      15 111       17
  111      19 112       11
  112      14 112       17
  112      19 113         2
  113      13 113       16
  113      18 113       21
  115       2 115         6
  115       9 115       16
  119      12 120         5
  124       7 124       11
  124      13 124       21
  125      11 126       10
  126      13 126       15
  161       9 161       13
  161      15 161       20
  171       9 171       11
  171      13 171       14
  190      12 190       15

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                                                                  12735
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Monson, Christopher
Date of Deposition: April 16, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  190      18 190       18
  190      20 191       10
  191      12 191       13
  193      21 194         8
  198       4 198       14
  198      15 199       14




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                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Nielson, Seth
Date of Deposition: April 16, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
    7       1      7    15
    9      17    10     10
   23       4    23     21
   24       1    24       6
   24       7    25       3
   30      19    31     16
   32      21    33       2
   33      15    36     15
   36      17    37       7
   37       8    38       3
   40      16    41       2
   42       5    44       1
   44       2    44       7
   44      10    44     15
   50      11    51       5
   56       8    56     14
   65      21    66     18
   66      20    67       7
   67       8    67     15
   67      17    68       7
   68       8    68     16
   68      17    69       2
   69       3    69     21
   70       1    70       7
   70       9    71       2

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                                                                  12737
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Nielson, Seth
Date of Deposition: April 16, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   73      14    74       1
   74       2    74     13
   74      18    75     17
   75      18    77     12
   77      15    77     18
   77      21    78       6
   78       8    79     10
   79      11    79     13
   79      15    79     17
   81       1    81     13
   81      14    82     13
   82      15    83       2
   83       5    84     16
   84      18    86       3
   86       5    87     13
   88      17    89     21
   90       1    90       4
   90       6    90     17
   91      18    93     13
   93      19    94       3
   94       5    94       7
   95      11    95     16
   97       3    98       9
   99      14 101         9
  101      10 101       14

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                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Nielson, Seth
Date of Deposition: April 16, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  104      16 104       19
  105       3 105       14
  107       6 107       16
  118      13 118       20
  126      13 127         7
  141       6 141         7
  141       8 141         9
  141      10 141       15




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                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Paszkowski, Slawomir
Date of Deposition: July 2, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
    9       2      9      5
    9      23      9    25
   10       2    10     16
   10      17    10     25
   11       2    11       9
   11      17    11     19
   15       5    16     25
   17       2    17     17
   17      18    17     25
   18       2    18       3
   18       4    18     25
   19       2    19     20
   21       5    21     20
   24      17    26       6
   27      11    27     15
   27      20    27     25
   28       2    28     25
   29       2    29       7
   29       9    29     25
   30       2    30     25
   31       2    31       7
   31      12    31     17
   32      22    32     25
   33       2    33       4
   34      19    37       9

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                                                                  12740
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                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Paszkowski, Slawomir
Date of Deposition: July 2, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   38      10    38     18
   38      21    39     22
   40       2    40     22
   41       2    43       8
   43      12    43     14
   43      22    43     25
   44       2    44     12
   44      24    45       7
   45      17    46     21
   47       4    47     12
   47      18    49       4
   49      13    49     25
   50       2    50       6
   50      11    50     15
   50      16    50     19
   50      23    50     24
   51      17    51     22
   51      25    51     25
   52       2    52       4
   52      10    52     17
   52      24    52     25
   53       2    53       4
   53       5    53     17
   53      23    53     25
   54       2    54     11

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                                                                  12741
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Paszkowski, Slawomir
Date of Deposition: July 2, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   54      13    54     14
   54      16    54     21
   55       2    55     21
   56       7    56     21
   56      23    56     24
   57       3    57     25
   58       2    58       4
   58       5    58     16
   58      18    58     18
   58      22    58     25
   59       2    59     16
   59      19    59     25
   60       2    60       5
   61       2    61       6
   61       9    61     10
   61      19    61     22
   62       5    62     22
   62      24    62     25
   63       2    63       2
   63      24    63     25
   64       2    64     14
   64      18    64     25
   65       2    65     15
   67      19    67     21
   67      25    67     25

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                                                                  12742
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Paszkowski, Slawomir
Date of Deposition: July 2, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   68       2    68       5
   68       6    68     12
   68      15    68     25
   69      19    69     25
   70       2    70     11
   70      16    70     22
   71       2    71       8
   71      14    71     25
   72       2    72       7
   72      10    72     16
   72      17    72     25
   73      13    73     22
   75       6    75     14
   77       2    77       8
   77       9    77     25
   78       2    78     10
   78      13    78     15
   78      19    78     25
   79      23    79     25
   80       2    80     25
   81       2    81     23
   82       2    82     25
   83       2    83     24
   84       3    84     25
   85       2    85       9

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                       Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 96 of 120 PageID#
                                                                  12743
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                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Paszkowski, Slawomir
Date of Deposition: July 2, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   86      13    86     19
   86      21    86     25
   87       2    87       5
   87      23    87     25
   88       2    88     19
   88      20    88     25
   89       2    89     25
   90       2    90       2
   90       3    90     17
   90      18    90     25
   91       2    91     16
   91      17    91     22
   92      15    93     23
   94       3    94       7
   94       9    94     25
   95       2    95       6
   95      10    95     22
   95      23    95     25
   96       2    96       6
   96       7    96     13
   96      18    96     25
   97       2    97       3
   97       5    97     14
   97      15    97     24
   98       4    98     12

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                                                                  12744
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                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Paszkowski, Slawomir
Date of Deposition: July 2, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   98      13    98     22
   98      25    98     25
   99       2    99     20
  100       2 100       25
  101       2 101       14
  101      16 101       24
  108      23 108       25
  109       2 109         2
  109       4 109         7
  109      10 109       16
  109      24 109       25
  110       2 110         2
  110       3 110         7
  114       4 114       10
  114      13 114       22
  115      16 115       25
  116       2 116         5
  117      10 118       21
  119      16 119       25
  121       8 121       25
  122       4 122       24
  123      13 124       10
  124      15 124       18
  125       2 125       13
  127      17 127       25

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                                                                  12745
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Paszkowski, Slawomir
Date of Deposition: July 2, 2019

            Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page Line Page Line (partial                 Page Line Page Line (partial              Page Line Page Line (partial
                           lines)                                    lines)                                      lines)
  128     4 128       25
  129     2 129         5




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                                                                  12746
                                          Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                          Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Patel, Anish
Date of Deposition: June 18, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
    7       3      7    17
    7      22      7    24
    8       4      8    19
    8      23      9      5
    9      16    10     10
   11      21    12       7
   12      22    12     24
   12      25    13     12
   13      15    14       7
   25       6    25       9
   25      13    25     22
   25      25    25     25
   34      20    35       4
   35       6    35       7
   35      10    35     10
   47      20    47     24
   48       3    48       9
   94      15    94     21
   94      23    95       7
   95      10    95     18
   95      21    96       6
   96       9    96       9
   96      23    96     25
   97       9    97     10
   97      13    97     17

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                                                                 12747
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Patel, Anish
Date of Deposition: June 18, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  100      14 100       19
  100      23 101         3
  101       7 101       15
  101      21 101       22
  102      14 102       18




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                      Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 101 of 120 PageID#
                                                                 12748
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Poltorak, Steven
Date of Deposition: June 28, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   12       7    13     13
   18      23    19       9
   30      21    31       2
   31       9    31     10
   35      14    36     17
   45      23    47       4
   47      16    47     19
   47      22    48     11
   51       9    51     13
   51      17    52       3
   53       9    53     20
   54      24    55       6
   56      12    57     19
   60       7    60     14
   60      16    61       5
   61       6    62       4
   62       8    62     12
   65      20    67     10
   67      12    68     19
   70      11    71     16
   86      20    87     21
   94       4    99       9




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                                                                12749
                                        Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                        Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Rubin, Samuel
Date of Deposition: May 6, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   13      22    14       4
   16      15    18     12
   18      13    20     17
   30       6    30     13
   30      15    31     15
   32      22    33       1
   33       4    33       9
   33      11    33     11
   39       7    39     10
   39      12    39     13
   39      15    39     20
   39      22    39     22
   39      23    39     25
   40       3    40       9
   46      13    46     15
   46      18    46     21
   46      25    47     12
   47      18    47     23
   47      25    48       4
   50      17    50     24
   59       2    60       2
   61      23    62       4
   62      11    62     16
   62      18    63       1
   63       3    63       5

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                     Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 103 of 120 PageID#
                                                                12750
                                        Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                        Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Rubin, Samuel
Date of Deposition: May 6, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   63       8    63     19
   64      11    64     15
   64      20    64     21
   64      23    65       6
   65       9    65     14
   65      16    65     22
   65      25    66       4
   66      12    66     14
   69      24    70       2
   70       5    70       5
   70      10    70     22
   70      24    70     25
   71       2    71       5
   71       7    71       8
   72      10    72     12
   72      16    72     19
   72      20    73       2
   74      14    74     16
   74      18    75       3
   85      14    85     18
   85      20    85     24
   86      22    87     11
   87      25    88       3
   88       5    88     11
   91       8    91     12

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                                                                12751
                                        Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                        Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Rubin, Samuel
Date of Deposition: May 6, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   91      15    91     16
   99      24 101         2
  101      14 102         8
  102      10 103         2
  107      19 108       11
  109       3 110         4
  112       9 112       23
  113       2 113         4
  114      23 115         1
  115      25 116         5
  117       6 118       13
  118      18 119         6
  119      11 119       23
  127      11 127       22
  127      25 128       10
  128      11 128       19
  129       6 129         8
  129      10 129       23
  130       8 130       10
  130      14 130       14
  131       5 131         7
  131      10 131       12
  131      16 132         7
  132      19 133         3
  133      17 134       25

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                                                                12752
                                        Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                        Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Rubin, Samuel
Date of Deposition: May 6, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  137      19 137       21
  137      25 138       10
  138      23 139       16
  147      16 147       25
  148       8 148       11
  148      13 148       13
  148      15 148       22
  149      11 150         1
  150       4 150       19
  151       5 152       10
  152      11 152       22
  152      25 153       13
  153      14 154       12
  154      16 154       25
  155       7 155       15
  155      18 156         8
  156       9 157       18
  157      19 158         3
  158       6 158       17
  159       2 159       14
  159      16 159       23
  160       1 160         1
  161      10 162         7
  162       8 163       18
  163      21 163       24

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                                                                12753
                                        Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                        Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Rubin, Samuel
Date of Deposition: May 6, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  164      13 164       15
  164      18 164       18
  164      22 165         5
  165       6 165       20
  165      23 166       14
  166      16 166       23
  168       6 168       18
  168      21 169         7
  169       8 169       10
  169      15 169       23
  170       2 170         3
  200      19 200       23
  201       9 201       19
  201      23 202         7
  202       8 202       24
  203       3 203         4
  205      17 206         2
  206       6 206       18
  206      23 207         9




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                                                                12754
                                        Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                        Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Sikes, Joseph
Date of Deposition: May 15, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
    8      13      8    24
   11      20    11     25
   30       9    30     14
   30      22    30     25
   31       1    31     15
   32      18    32     24
   35       2    35       4
   40      16    40     25
   41       6    41       7
   41      10    41     21
   41      24    42       8
   56      18    56     20
   57      19    57     24
   58       6    58     12
   66       5    66     25
   73      13    73     16
   73      21    76     10
   93      18    93     21
   93      23    94     14
  100       2 100       13
  118       4 118       14
  190      17 190       20
  190      23 191       15
  191      19 191       22
  192       2 192       13

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                     Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 108 of 120 PageID#
                                                                12755
                                        Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                        Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Sikes, Joseph
Date of Deposition: May 15, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  192      22 193       16
  193      19 194       17
  195      12 196         4
  196       9 197       24
  202       7 202       17
  203      13 205         1
  205       6 205       17
  205      22 206       20
  206      24 207         7
  207      10 207       24
  210       5 210       14
  221       9 224         8
  232      12 233         6
  234      11 234       16
  235      11 235       21
  235      23 236         7
  236      24 237       11
  237      14 237       25
  239       1 239       17
  239      18 240       22
  240      23 241         2
  241       8 241       11
  241      15 241       18
  241      21 242         3
  243       6 244         2

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                                                                12756
                                        Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                        Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Sikes, Joseph
Date of Deposition: May 15, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  244       5 244       12
  270      10 271         9
  274       8 275         3
  279       2 279       21
  280       7 280       10
  280      15 280       23
  291      11 292       14
  302       3 303         5




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                                                                12757
                                        Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                        Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Stifel, Brian
Date of Deposition: May 23, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
    5       5      5      6
    5      20      5    22
    6       5      6      8
    6      10      6    12
    6      13      6    15
    6      24      6    25
   19      10    19     20
   22       5    22       9
   27       6    27     19
   28       3    28     18
   28      19    29     11
   29      23    30     16
   33      18    33     24
   33      25    34       7
   37       8    38     13
   38      15    38     20
   39      13    39     15
   39      19    39     22
   43       4    43       7
   44      17    44     25
   50       3    50     18
   73      10    73     13
   74       3    75       4
   75      15    76       1
   76      17    76     21

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                     Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 111 of 120 PageID#
                                                                12758
                                        Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                        Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Stifel, Brian
Date of Deposition: May 23, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   82      24    83       9
   88      25    89       8
   90      20    92     23
  102       4 103       12
  104      20 104       25
  105       2 105         4
  111       5 111       19
  133      19 133       21
  133      24 134         2
  135      11 136       12




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                     Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 112 of 120 PageID#
                                                                12759
                                        Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                        Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Summers, Clint
Date of Deposition: May 8, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
    5      15      6      5
    6      13      6    18
    6      25      7      1
    7      18      9    16
   14      22    15     17
   15      21    25       8
   32      22    32     25
   33       3    33     10
   33      19    33     25
   47      16    47     19
   47      22    47     22
   60       4    60       5
   60       8    60     23
   61      14    62       8
   63       3    63       5
   63       8    63     14
   63      17    63     25
   64       4    64       5
   66      11    66     25
   67      24    68       1
   68       7    68       9
   68      12    68     12
   69      13    69     15
   69      22    81     23
   82      13    82     18

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                     Case 1:18-cv-00950-PTG-JFA Document 359-1 Filed 09/18/19 Page 113 of 120 PageID#
                                                                12760
                                        Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                        Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Summers, Clint
Date of Deposition: May 8, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   82      22    83       2
   83       5    83       9
   83      12    84       2
   84       6    85       2
   85       5    86       1
   86       4    87       1
   88      19    88     23
   89       1    89       7
   93       2    93       5
   93       8    93     12
   93      15    93     15
   94      13    94     16
  104      21 104       24
  105      13 105       13
  109      19 113       22
  115      12 115       16
  115      20 115       23
  115      24 116       10
  117      11 118         1
  118      25 119         3
  119      16 120         2
  120       7 120       12
  126      19 127       17
  132      25 133         8
  134       1 137         6

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                                                                12761
                                        Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                        Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Summers, Clint
Date of Deposition: May 8, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  138       9 139       12
  142       2 142         7
  145       5 146       12
  149       3 149         7
  149      13 149       15
  151      10 151       17
  166      14 167       20
  174      16 175         7
  175      11 176         1
  181      13 181       15
  181      18 181       21
  185      12 185       15
  188      11 188       15
  188      18 188       24
  190      13 190       21
  190      24 191       15
  191      16 192         1
  192       5 192         7
  193      16 194         6
  196      10 197       19
  198       4 198         9
  198      21 199       11
  199      24 200         4
  200       7 200       14
  209       4 209         9

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                                           12762
                   Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                   Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)




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                                                                 12763
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Zabek, Jason
Date of Deposition: July 2, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   11       3    11       7
   13      14    13     15
   13      19    13     24
   28       6    29     14
   29      15    29     23
   29      24    30       7
   31      15    31     25
   35      13    35     15
   35      19    35     19
   35      20    36       6
   40      15    41       2
   42       1    42       5
   42       9    42     23
   42      24    43     10
   43      11    43     18
   43      19    45       8
   45       9    45     14
   46       4    46       7
   46      10    46     17
   59      20    60     25
   62       8    63       4
   63       7    64       2
   64       6    64     16
   64      20    65       1
   65       5    65       6

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                                                                 12764
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Zabek, Jason
Date of Deposition: July 2, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
   69       3    69     24
   73       2    73       5
   73       7    74       6
   74       7    74     24
  102      17 103       25
  112      16 112       19
  112      21 113         6
  115      13 115       17
  115      21 116         2
  117       8 117       15
  117      18 118         2
  122      20 123       12
  124       1 125         2
  125       3 125       13
  134      24 135         5
  135       8 135       12
  170       2 170         4
  188       7 189       14
  193       1 193         5
  207      23 208         6
  208      11 209         2
  214      14 216       13
  259      10 259       13
  259      16 260         3
  260      11 260       18

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                                                                 12765
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Zabek, Jason
Date of Deposition: July 2, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  260      22 262         3
  263       9 263       21
  272      15 273         3
  273       5 273       11
  274       6 275         7
  275      16 275       24
  276       8 276       11
  294      19 295         8
  298       9 298       10
  298      13 298       19
  303      20 303       24
  304       5 307         9
  307      11 307       11
  307      14 307       23
  308       1 309       20
  309      24 310         4
  310       7 310       19
  310      20 311         9
  311      12 311       13
  311      17 312         4
  312       5 312         7
  312      11 313         4
  313      23 314         7
  314      15 316       14
  316      15 316       16

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                                                                 12766
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Zabek, Jason
Date of Deposition: July 2, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
Begin   Begin End End Notes         Objections Begin Begin End End Notes      Objections Begin Begin End End Notes
Page    Line Page Line (partial                Page Line Page Line (partial              Page Line Page Line (partial
                             lines)                                    lines)                                      lines)
  316      20 317       12
  317      13 318         3
  318       4 318       21
  318      22 319         1
  319       4 319       17
  319      18 319       23
  319      25 320       14
  321       1 321       14
  321      17 322       15
  322      18 323         5
  323       8 324         5
  324       9 326       20
  326      23 327       19
  327      24 328       23
  329      12 329       13
  329      15 332       19
  332      20 333         1
  333      13 333       15
  333      17 333       21
  334       2 334       13
  335       9 335       22
  335      25 336       12
  336      15 336       19
  336      24 337         9
  337      17 337       25

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                                                                 12767
                                         Sony Music Entm’ t, et al. v. Cox Commc’ ns, Inc., et al.
                                         Case No. 1:18-cv-00950-LO-JFA (U.S.D.C., E.D. Va.)
Witness: Zabek, Jason
Date of Deposition: July 2, 2019

              Initial Designations                        Counterdesignations                  Rebuttal Designations
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                             lines)                                    lines)                                      lines)
  338       3 338         8
  338      11 338       19
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  342      11 342       18
  342      22 343         5
  343      19 344         3
  344      10 344       21
  344      24 345         3
  345       6 346         2
  346       9 347         4
  347      10 348         1
  348       4 348       16
  348      18 349         1
  350      14 351       15
  353      22 355         7
  355       9 356         6
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